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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiff,                                8:12CR107

        vs.
                                                                      ORDER
TAMMY SCHUCK and
TABATHA ASHBURN,

                           Defendants.

        This matter came before the Court on the Motion of the United States requesting

authorization for the issuance of a subpoena under Rule 17(c) of the Federal Rules of Criminal

Procedure (Filing No. 142). The Court finds that the request is reasonable in that it seeks known

evidentiary records, the production of which in advance of trial will enable both parties to more

fully prepare for trial.

        IT IS ORDERED: that the Government’s Motion is granted. The United States shall

issue a subpoena duces tecum to Yahoo! Inc. with a production date no later than September 30,

2013. Defendant Schuck’s objection (Filing No. 144) is overruled.

        IT IS FURTHER ORDERED: that the documents may be produced at the offices of

the United States Attorney for the District of Nebraska provided that the United States makes

such records immediately available to the defendant.

        DATED this 10th day of September, 2013.

                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
